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                        BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX COLLAPSE LITIGATION                            MDL Docket Pending No. 4


                                AMENDED PROOF OF SERVICE

        In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on February 10, 2023,

copies of the foregoing a) Motion for Transfer of Related Actions to the Southern District of

Florida, b) Brief in Support of Motion for Transfer of Actions to the Southern District of Florida

pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings, and c)

Schedule of Actions, were filed electronically through the CM/ECF system, and copies of same

were sent by Email to all parties on the attached service list. In addition, pursuant to the Rules

of Procedure of the U.S. Judicial Panel on Multidistrict Litigation, Rule 3.2(d), copies were

served to the Clerk of the Panel, United States Judicial Panel on Multidistrict Litigation,

Thurgood Marshall Federal Judiciary Building, One Columbus Circle, NW, Room G-255,

North Lobby, Washington, DC 20002-8041.


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 Wilkie D. Ferguson, Jr. United States Courthouse
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 Miami, Florida 33128
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               Case No.: 1:23-CV-20439, Chief Judge Cecilia M. Altonaga
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